Case 1:04-cv-01342-.]DT-STA Document 42 Filed 08/22/05 Page 1 of 3 Page|D 26

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IN THE UNITED STATES DISTRICT COURT 0
FOR THE WESTERN DISTRICT OF TENNESSEE 40622

 
  

EASTERN DIVISION _ P/¢$,
DWIGHT B. wALKER, personal Cl{f?{ij; ,¢QJ
representation Of the Estate Of M@Q§i§$%q@@
wILL:E MAE wALKER, “' //"L; JME'FOC/;§)UW

Plaintiff,

vS. No. l:Oé-CV-OlBQZ-T/TA
GREYHOUND BUS LINES, TRANS USA
CORPORATION, ROXANN ELLENS,
THERESA BROWN, DIANA GONZALEZ,
DEBORAH TAYLOR, WARREENA
HENDERSON, RAYMOND WELLS,
and/Or CONNIE VANDVINE,

Defendants.

 

ANNA M. HILL, Individually and as
Personal Representative cf the
Estate Of CHARLOTTE THOMPSON,
Deceased, JAMES THOMPSON, JULIA T.
HARMON, CLAUDIA THOMPSON, SHIRLEY
THOMPSON, CHARLENE THOMPSON, PAMELA
THOMPSON, LYDELL THOMPSON, LORINE
AUSTIN, FRANCES DAVIDSON, LARRY
THOMPSON, CLIFTON THOMPSON, PAULINE
THOMPSON and ROBERT C. PURVIS,

CaSe NO. 1-05-1163 T/AN

JUDGE TODD / ANDERSON
Plaintiffs,

VS.
GREYHOUND LINES, INC., a D€laware
COIpOratiOn, ARC INTERNATIONAL
CORPORATION dba TRANS USA CORPORATION
and ALEX YU CHANG,

Defendants.

 

TERESA SMITH,
Plaintiff,
No. 05-1079-T/AN

VS.

GREYHOUND LINES, INC., a
Delaware Corporation,

Defendants.

This document entered on the docket she t |n c fung
with Rule 58 and,-‘or_?$ (a) FRCP on §§ §§ 332 _}_ \$

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Case 1:04-cv-01342-.]DT-STA Document 42

DOROTHY A. STEELE,
Plaintiff,
vs.

ESTATE OF THOMAS DICKERSON, II,
As Employee/Agent Greyhound
Lines, Inc., and GREYHOUND
LINES, INC., and ALEX YU CHANG,
as Employee/Agent of COASTAL
GROUP CORPORATION and TRANS
USA CORPORATION,

Defendants.

Filed 08/22/05 Page 2 of 3 Page|D 27

No. C-Ol-OS»2480 T/An

-v¢~_-_¢`_/\_/`_,~_/`_,v`_»~._,-_,~__,~__,~._,

ORDER ON JOINT MOTION TO CONSOLIDATE
CASES FOR ALL PURPOSES OF PRETRIAL PROCEEDINGS

Upon the Joint and unopposed Motion of the parties, and for good

cause shown, it is hereby Ordered that all pretrial proceedings in

these cases shall be consolidated, with the details and scheduling of

these pretrial proceedings to be determined by a Joint Soheduling

Order to be entered at the Case Manaqement Conference.

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30 ORDERED this JYQNLday of August, 2005.

F: \GREYHOUND\CONSOLI DAT I ON ORDER

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JUDGE "

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 42 in
case 1:04-CV-01342 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed.

ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

